            Case 2:21-cv-00898-RSL           Document 100       Filed 02/10/25         Page 1 of 5




 1                                                                   The Honorable Robert S. Lasnik

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 8                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 9                                         AT SEATTLE
10 ALVIN GREENBERG, MICHAEL
   STEINBERG, JULIE HANSON, CHRISTINA                       No. 2:21-CV-00898-RSL
11 KING, and RONNELL ROBERTSON, on behalf
   of themselves and all others similarly situated,         JOINT STATUS REPORT AND
12                                                          STIPULATED MOTION
                             Plaintiffs,
13                                                          NOTE ON MOTION CALENDAR:
          v.                                                February 10, 2025
14
   AMAZON.COM, INC., a Delaware corporation,
15
                             Defendant.
16

17          1.         On October 4, 2024, the Court entered an Order Setting Trial Date and Related

18 Dates. Dkt. 69. In that Order, the Court set a November 4, 2024 deadline for the parties to agree on
19 custodians, search terms, and structured data, or to submit to the Court outstanding disputes on these
20 issues. Id. at 1.

21          2.         On December 4, 2024, Amazon filed a Motion for Protective Order regarding the

22 range of products to be covered by its structured data productions. Dkt. 78. That motion was noted

23 for December 18, 2024 and is fully briefed. See Dkt Nos. 83 (Response) and 85 (Reply).

24          3.         Through stipulations previously so-ordered by the Court (Dkt. Nos. 84 & 90), the

25 Parties agreed to extend the deadlines for negotiating custodians and search terms until January 24,

26 2025. The Parties also agreed to extend the deadline for negotiating structured data until February

27 10, 2025.

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 1          4.     The Parties reached agreement on custodians and search terms by the January 24,

 2 2025 deadline, subject to appropriate reservations of rights.

 3          5.     The Parties have also made substantial progress negotiating parameters for Ama-

 4 zon’s structured data productions, significantly narrowing areas of dispute. Negotiations are ongo-

 5 ing and concern multiple datasets potentially bearing on the claims and defenses in this action.

 6 Given the complexities involved, the Parties believe that additional time to fully negotiate data

 7 parameters is warranted and will help minimize, if not eliminate, disputes requiring judicial in-

 8 volvement.

 9          6.     The Parties accordingly jointly move to extend from February 10, 2025 to March 3,

10 2025 the deadline for agreement or presentation of disputes regarding structured data. The Parties

11 also move to extend the deadline for production of structured data from April 11, 2025, to May 2,

12 2025.

13          7.     Datasets will be produced on a rolling basis as they are ready for production.

14          8.     The Parties are not at this time requesting any further extensions to case deadlines.

15          IT IS SO STIPULATED

16 DATED: February 10, 2025                      Respectfully submitted,

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 1                                       [PROPOSED] ORDER

 2          The Court GRANTS the Parties’ stipulated motion. The deadline for the Parties to agree

 3 on custodians, search terms, and structured data, or to present disputes on those issues, is extended

 4 to March 3, 2025. The deadline for production of structured data is extended to May 2, 2025.

 5          SO ORDERED this ___ day of February, 2025.

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 7                                                Robert S. Lasnik
                                                  United States District Judge
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